                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )       No. 2:11-00002
       v.                                     )       Aleta A. Trauger
                                              )       Judge, U.S. District Court
                                              )
TIFFANY BROOK NORRIS                          )

                                       AGREED ORDER

       Upon agreement of the parties, it is hereby ORDERED that:

       1. Ms. Norris be transported from Grayson County Jail on February 27, 2015, to the U.S.

Marshal’s lock up and be released at 9:00 a.m. the same day.

       2. Upon release, Ms. Norris will be transported by Attorney Dumaka Shabazz , or another

employee of the Federal Defender’s Office, to Concentra at 315 14th Avenue North, Nashville,

Tennessee, 37203, where she will be given a physical.

       3. Ms. Norris shall then enter Diersen Charities on February 27, 2015. She shall remain at

Diersen for six months. Counsel shall file a report to update the Court, United States Government,

and United States Probation Office prior to the six month mark and will request a status hearing (if

necessary) to determine the need for further participation at Diersen Charities.

       4. All previous conditions of supervision remain in effect.

       IT IS SO ORDERED.

                     26th day of
       ENTERED this _____               February               , 2015.


                                              __________________________________
                                              ALETA A. TRAUGER
                                              Judge, United States District Court




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APPROVED FOR ENTRY:

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Attorney for Tiffany Norris


s/ Harold B. McDonough Jr.
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